Case 9:13-cv-80254-KLR Document 45 Entered on FLSD Docket 09/16/2013 Page 1 of 10




                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                            PALM BEACH DIVISION

  AFFORDABLE AERIAL PHOTOGRAPHY,
  INC.,

             Plaintiff,
                                                                         CASE NO. 9:13-CV-80254
  v.                                                                     Judge Kenneth L. Ryskamp
                                                                         Magistrate James M. Hopkins
  MICHAEL NICKLAUS and GOLDEN BEAR
  REALTY, LLC,

             Defendants.

       DEFENDANT, GOLDEN BEAR REALTY, LLC’S ANSWER AND AFFIRMATIVE
            DEFENSES TO PLAINTIFF’S SECOND AMENDED COMPLAINT

             Defendant, Golden Bear Realty, LLC (“Golden Bear”), by and through undersigned

  counsel and pursuant to the applicable Rules of Florida Civil Procedure, hereby files its Answer

  to Plaintiff’s Second Amended Complaint as follows:

             1.        Golden Bear admits that this action purports to arise under the Copyright Act but

  denies that Plaintiff is entitled to the relief sought.

             2.        Golden Bear admits that this Court has subject matter jurisdiction over the alleged

  claims.

             3.        Golden Bear admits that it is subject to personal jurisdiction in Florida.

             4.        Golden Bear admits that there is venue in this District.

                                                      THE PLAINTIFF

             5.        Golden Bear is without knowledge as to the allegations in paragraph 5, and

  therefore denies same.




       FOWLER WHITE BURNETT P.A. • ESPIRITO SANTO PLAZA, 1395 BRICKELL AVENUE, 14TH FLOOR, MIAMI, FLORIDA 33131 • (305) 789-9200
Case 9:13-cv-80254-KLR Document 45 Entered on FLSD Docket 09/16/2013 Page 2 of 10

                                                                         CASE NO. 9:13-CV-80254



         6.      Golden Bear is without knowledge as to the allegations in paragraph 6, and

  therefore denies same.

         7.      Golden Bear is without knowledge as to the allegations in paragraph 7, and

  therefore denies same.

                                        THE DEFENDANTS

         8.      Golden Bear admits the allegations in paragraph 8, except that the suite number is

  205 not 206.

         9.      Golden Bear admits the allegations in paragraph 9, except that the suite number is

  205 not 206.

         10.     Golden Bear admits that it operates a real estate business in Palm Beach County,

  Florida but denies all other inferences and characterizations in paragraph 10.

         11.     Golden Bear admits the allegations in paragraph 11.

         12.     Golden Bear denies the allegations in paragraph 12.

                           THE COPYRIGHTED WORKS AT ISSUE

         13.     Golden Bear is without knowledge as to the allegations in paragraph 13, and

  therefore denies same.

         14.     Golden Bear is without knowledge as to the allegations in paragraph 14, and

  therefore denies same.

         15.     Golden Bear is without knowledge as to the allegations in paragraph 15, and

  therefore denies same.

         16.     Golden Bear is without knowledge as to the allegations in paragraph 16, and

  therefore denies same.




                                                 -2-
Case 9:13-cv-80254-KLR Document 45 Entered on FLSD Docket 09/16/2013 Page 3 of 10

                                                                      CASE NO. 9:13-CV-80254



         17.    Golden Bear is without knowledge as to the allegations in paragraph 17, and

  therefore denies same.

         18.    Golden Bear is without knowledge as to the allegations in paragraph 18, and

  therefore denies same.

         19.    Golden Bear is without knowledge as to the allegations in paragraph 19, and

  therefore denies same.

            INFRINGEMENT AND CIRCUMVENTION BY THE DEFENDANTS

         20.    Golden Bear is without knowledge as to the allegations in paragraph 20, and

  therefore denies same.

         21.    Golden Bear is without knowledge as to the allegations in paragraph 21, and

  therefore denies same.

         22.    Golden Bear is without knowledge as to the allegations in paragraph 22, and

  therefore denies same.

         23.    Golden Bear is without knowledge as to the allegations in paragraph 23, and

  therefore denies same.

         24.    Golden Bear is without knowledge as to the allegations in paragraph 24, and

  therefore denies same.

         25.    Golden Bear denies the allegations in paragraph 25.

         26.    Golden Bear is without knowledge as to the allegations in paragraph 26, and

  therefore denies same.




                                               -3-
Case 9:13-cv-80254-KLR Document 45 Entered on FLSD Docket 09/16/2013 Page 4 of 10

                                                                        CASE NO. 9:13-CV-80254



                                         COUNT I
                                 COPYRIGHT INFRINGEMENT
                                   AGAINST GOLDEN BEAR

         27.      Golden Bear incorporates its responses to paragraphs 1 through 26 as if fully set

  forth herein.

         28.      Golden Bear is without knowledge as to the allegations in paragraph 28, and

  therefore denies same.

         29.      Golden Bear is without knowledge as to the allegations in paragraph 29, and

  therefore denies same.

         30.      Golden Bear denies the allegations in paragraph 30.

         31.      Golden Bear denies the allegations in paragraph 31.

         32.      Golden Bear denies the allegations in paragraph 32.

                                        COUNT II
                                 COPYRIGHT INFRINGEMENT
                                    AGAINST NICKLAUS

         33.      Golden Bear incorporates its responses to paragraphs 1 through 26 as if fully set

  forth herein.

         34.      Golden Bear is without knowledge as to the allegations in paragraph 34, and

  therefore denies same.

         35.      Golden Bear is without knowledge as to the allegations in paragraph 35, and

  therefore denies same.

         36.      Golden Bear denies the allegations in paragraph 36.

         37.      Golden Bear denies the allegations in paragraph 37.

         38.      Golden Bear denies the allegations in paragraph 38.

         39.      Golden Bear denies the allegations in paragraph 39.



                                                 -4-
Case 9:13-cv-80254-KLR Document 45 Entered on FLSD Docket 09/16/2013 Page 5 of 10

                                                                        CASE NO. 9:13-CV-80254



                                   COUNT III
                  CIRCUMVENTION BY REMOVAL OR ALTERATION OF
                      COPYRIGHT MANAGEMENT INFORMATION
                             AGAINST GOLDEN BEAR

         40.      Golden Bear incorporates its responses to paragraphs 1 through 26 as if fully set

  forth herein.

         41.      Golden Bear is without knowledge as to the allegations in paragraph 41, and

  therefore denies same.

         42.      Golden Bear denies the allegations in paragraph 42.

         43.      Golden Bear denies the allegations in paragraph 43.

         44.      Golden Bear denies the allegations in paragraph 44.

         45.      Golden Bear denies the allegations in paragraph 45.

                                   COUNT IV
                  CIRCUMVENTION BY REMOVAL OR ALTERATION OF
                      COPYRIGHT MANAGEMENT INFORMATION
                              AGAINST NICKLAUS

         46.      Golden Bear incorporates its responses to paragraphs 1 through 26 as if fully set

  forth herein.

         47.      Golden Bear is without knowledge as to the allegations in paragraph 47, and

  therefore denies same.

         48.      Golden Bear denies the allegations in paragraph 48.

         49.      Golden Bear denies the allegations in paragraph 49.

         50.      Golden Bear denies the allegations in paragraph 50.

         51.      Golden Bear denies the allegations in paragraph 51.




                                                 -5-
Case 9:13-cv-80254-KLR Document 45 Entered on FLSD Docket 09/16/2013 Page 6 of 10

                                                                          CASE NO. 9:13-CV-80254



                                     COUNT V
                     INTERFERENCE WITH BUSINESS RELATIONSHIPS
                         AGAINST GOLDEN BEAR AND NICKLAUS

         52.      Golden Bear incorporates its responses to paragraphs 1 through 26 as if fully set

  forth herein.

         53.      Golden Bear is without knowledge as to the allegations in paragraph 53, and

  therefore denies same.

         54.      Golden Bear is without knowledge as to the allegations in paragraph 54, and

  therefore denies same.

         55.      Golden Bear is without knowledge as to the allegations in paragraph 55, and

  therefore denies same.

         56.      Golden Bear is without knowledge as to the allegations in paragraph 56, and

  therefore denies same.

         57.      Golden Bear is without knowledge as to the allegations in paragraph 57, and

  therefore denies same.

         58.      Golden Bear denies the allegations in paragraph 58.

         59.      Golden Bear denies the allegations in paragraph 59.

         60.      Golden Bear denies the allegations in paragraph 60.

         All allegations not specifically admitted are hereby deemed denied.

                                    AFFIRMATIVE DEFENSES

         61.      Plaintiff is fails to state a claim for statutory damages and attorneys' fees because

  the allegedly infringed works were not timely registered with the Copyright Office.

         62.      Plaintiff is guilty of laches because Plaintiff intentionally delayed bringing the

  alleged infringement to Golden Bear's attention.



                                                  -6-
Case 9:13-cv-80254-KLR Document 45 Entered on FLSD Docket 09/16/2013 Page 7 of 10

                                                                         CASE NO. 9:13-CV-80254



         63.     Plaintiff failed to mitigate his damages.

         64.     To the extent that Plaintiff suffered any damages, they were caused by his own

  acts or omissions.

         65.     To the extent that Plaintiff suffered any damages, they were caused not by Golden

  Bear, but rather by third-parties for which Golden Bear has no control or responsibility.

         66.     Plaintiff is estopped from asserting and/or has waived any claim of infringement

  or damages because Plaintiff intentionally delayed bringing the alleged infringement to Golden

  Bear's attention.

         67.     Plaintiff's claim for infringement against Golden Bear based on acts of third-

  parties fails because Golden Bear did not have the right or ability to supervise the third-parties'

  actions.

         68.     Plaintiff comes to this Court with unclean hands as he has used the claims for

  alleged infringement to force Golden Bear into using Plaintiff for other services.

         69.     Golden Bear, as co-listing agent on certain properties, had an implied license to

  use certain of the Works identified by Plaintiff because the co-listing agent had purchased the

  rights to use certain of the Works to help sell the properties.

         70.     Any alleged infringement, which Golden Bear denies, was innocent and

  unintentional. Golden Bear did not intentionally use Plaintiff's photographs on its website and

  believed that it had an implied license to use certain photographs that were purchased by its co-

  listing agent on certain properties.

         71.     With respect to the claim of tortious interference, Golden Bear and Michael

  Nicklaus deny any alleged interference with business relationships between Plaintiff and Mark

  Griffin, Coastal Real Estate Partners, LLC, Coastal Sotheby's International Realty, The Bear's



                                                   -7-
Case 9:13-cv-80254-KLR Document 45 Entered on FLSD Docket 09/16/2013 Page 8 of 10

                                                                        CASE NO. 9:13-CV-80254



  Club Sotheby's International Realty or The Bear's Club Realty Company, LLC. Golden Bear

  further states that even if Michael Nicklaus had instructed Mark Griffin to stop using AAP's

  services (which Michael Nicklaus denies), Michael Nicklaus would bear no liability because he

  is protected by a privilege as he is not a third party or "stranger" to the alleged business

  relationships since he holds an ownership interest in the two "parent" companies identified by

  Plaintiff: Coastal Real Estate Partners, LLC and The Bear's Club Realty Company, LLC. By

  extension, liability cannot be imposed on Golden Bear either.

         72.     Any alleged infringement by Golden Bear, which Golden Bear denies, is de

  minimis.

         73.     Golden Bear reserves the right to seek to amend its affirmative defenses as

  discovery progresses in this case.

         WHEREFORE, Defendant, Golden Bear Realty, LLC, demands entry of judgment

  against Plaintiff, including attorneys' fees and costs, together with such other and further relief

  this Court deems just and proper.




                                                 -8-
Case 9:13-cv-80254-KLR Document 45 Entered on FLSD Docket 09/16/2013 Page 9 of 10

                                                              CASE NO. 9:13-CV-80254



                                    Respectfully submitted,


                                    /s/ Alice K. Sum
                                    Alice K. Sum
                                    Fla. Bar No. 354510
                                    Email: asum@fowler-white.com

                                    John S. Graham
                                    Fla. Bar No. 52147
                                    Email: jgraham@fowler-white.com

                                    FOWLER WHITE BURNETT, P.A.
                                    Espirito Santo Plaza, Fourteenth Floor
                                    1395 Brickell Avenue
                                    Miami, Florida 33131
                                    Telephone: (305) 789-9200
                                    Facsimile: (305) 789-9201




                                       -9-
Case 9:13-cv-80254-KLR Document 45 Entered on FLSD Docket 09/16/2013 Page 10 of 10

                                                                        CASE NO. 9:13-CV-80254




                                    CERTIFICATE OF SERVICE

          I hereby certify that on September 16, 2013, the foregoing document was electronically

   filed with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is

   being served this day on all counsel of record on the attached Service List in the manner

   specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in

   some other authorized manner for those counsel or parties who are not authorized to receive

   electronically Notices of Electronic Filing.

                                                      s/ Alice K. Sum
                                                      Alice K. Sum


                                            SERVICE LIST

                                       CASE NO. 9:13-CV-80254

   Joel B. Rothman, Esq.                              Jerold Schneider, Esq.
   Schneider Rothman IP Law Group                     Schneider Rothman IP Law Group
   P.O. Box 812182                                    P.O. Box 812182
   Boca Raton, FL 33481-2182                          Boca Raton, FL 33481-2182
   E-Mail: joel.rothman@sriplaw.com                   E-Mail: jerold.schneider@sriplaw.com
   Telephone: (561) 404-4350                          Telephone: (561) 404-4350
   Facsimile: (561) 404-4353                          Facsimile: (561) 404-4353
   Attorney for AFFORDABLE AERIAL                     Attorney for AFFORDABLE AERIAL
   PHOTOGRAPHY, INC.                                  PHOTOGRAPHY, INC.


   Robert G. Haile, Esq.                              Steven Schlackman, Esq.
   Haile Shaw & Pfaffenberger, PA                     Schlackman Intellectual Property Law, PLLC
   660 U.S. Highway One, Third Floor                  1344 Euclid Ave., Unit 2
   North Palm Beach, FL 33408                         Miami Beach, FL 33139
   Email: rhaile@haileshaw.com                        Email: steve@strategyiplaw.com
   Telephone: (561) 627-8100                          Telephone: (917)816-3234
   Facsimile: (561) 622-7603




                                                  - 10 -
